                                                                   Case 2:23-bk-10990-NB               Doc 946 Filed 03/06/25 Entered 03/06/25 16:48:24        Desc
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                                                                   7   Counsel to Bradley D. Sharp,
                                                                       Chapter 11 Trustee
                                                                   8
                                                                                                       UNITED STATES BANKRUPTCY COURT
                                                                   9
                                                                                                        CENTRAL DISTRICT OF CALIFORNIA
                                                                  10
                                                                                                               LOS ANGELES DIVISION
                                                                  11
                                                                       In re:                                             Case No. 2:23-bk-10990-NB
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12
                                                                       LESLIE KLEIN,                                      Chapter 11
                                        LOS ANGELES, CALIFORNIA




                                                                  13
                                           ATTORNEYS AT LAW




                                                                                                                          NOTICE OF HEARING ON CHAPTER 11
                                                                  14                  Debtor.                             TRUSTEE’S APPLICATION TO (A)
                                                                                                                          EMPLOY COLDWELL BANKER REALTY
                                                                  15
                                                                                                                          AS REAL ESTATE BROKER AND (B)
                                                                  16                                                      ENTER INTO EXCLUSIVE LISTING
                                                                                                                          AGREEMENT
                                                                  17
                                                                                                                          [322 N. June Street, Los Angeles, CA 90004]
                                                                  18
                                                                                                                          [Relates to Docket Nos. 931, 932 and 944]
                                                                  19
                                                                                                                          Date:        May 27, 2025
                                                                  20                                                      Time:        1:00 p.m.
                                                                                                                          Place:       Courtroom 1545
                                                                  21                                                                   U.S. Bankruptcy Court
                                                                  22                                                                   255 E. Temple Street
                                                                                                                                       Los Angeles, Ca 90012
                                                                  23

                                                                  24

                                                                  25

                                                                  26             PLEASE TAKE NOTICE that a hearing will be held on May 27, 2025 at 1:00 p.m., or as
                                                                  27   soon thereafter as the matter may be heard, in Courtroom 1545 at the United States Bankruptcy
                                                                  28   Court, 255 E. Temple Street, Los Angeles, CA 90012, before the Honorable Neil W. Bason, to


                                                                       SF 4909-8883-5877.1 78512.001
                                                                   Case 2:23-bk-10990-NB               Doc 946 Filed 03/06/25 Entered 03/06/25 16:48:24       Desc
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                                                                   1   consider the Chapter 11 Trustee’s Application to (A) Employ Coldwell Banker Realty as Real Estate

                                                                   2   Broker and (B) Enter Into Exclusive Listing Agreement (the “Application”) [Docket No. 931] and

                                                                   3   the opposition to the Application filed by Leslie Klein and Barbara Klein [Docket No. 944].

                                                                   4

                                                                   5    Dated:       March 6, 2025                    PACHULSKI STANG ZIEHL & JONES LLP
                                                                   6
                                                                                                                     By       /s/ Jeffrey W. Dulberg
                                                                   7                                                          Jeffrey W. Dulberg
                                                                   8
                                                                                                                              Counsel to Bradley D. Sharp,
                                                                   9                                                          Chapter 11 Trustee
                                                                  10

                                                                  11
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12
                                        LOS ANGELES, CALIFORNIA




                                                                  13
                                           ATTORNEYS AT LAW




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         Case 2:23-bk-10990-NB                   Doc 946 Filed 03/06/25 Entered 03/06/25 16:48:24                                       Desc
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                                        PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
                     10100 Santa Monica Boulevard, 13th Floor, Los Angeles, California 90067

A true and correct copy of the foregoing document entitled (specify): NOTICE OF HEARING ON CHAPTER 11
TRUSTEE’S APPLICATION TO (A) EMPLOY COLDWELL BANKER REALTY AS REAL ESTATE BROKER AND
(B) ENTER INTO EXCLUSIVE LISTING AGREEMENT served or was served (a) on the judge in chambers in the form
and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
March 6, 2025, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:


                                                                                      Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On (date) March 6, 2025, I served the following persons and/or entities at the
last known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a
sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.


                                                                                      Service information continued on attached page


3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) March 6, 2025, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

  Via Email:
  Eric J Olson: eric@ejolsonlaw.com

  Leslie Klein: les.kleinlaw@gmail.com;
  leskleinlaw@gmail.com; kleinlaw@earthlink.net

                                                                                      Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


 March 6, 2025                            Nancy H. Brown                                        /s/ Nancy H. Brown
 Date                                     Printed Name                                          Signature




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June 2012                                                                                     F 9013-3.1.PROOF.SERVICE
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1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Case 2:23-bk-10990-SK

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    •    Krikor J Meshefejian kjm@lnbyg.com                                           @ecf.courtdrive.com




2. SERVED BY UNITED STATES MAIL:

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   Michael Jones, Assistant U.S. Trustee                  Oldman, Sallus & Gold, L.L.P.
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   Los Angeles, CA 90017

   Leslie Klein & Associates, Inc.                        Leslie Klein                                   Leslie Klein & Associates, Inc.
   c/o Parker Milliken                                    322 North June Street                          c/o Leslie Klein
   555 Flower Street                                      Los Angeles, CA 90004                          6454 Van Nuys Blvd. Suite 150
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